                                       IN THE SUPERJOR COURT FOR THE STATE OF ALASKA

                                             THIRD JUDICIAL DISTRICT AT ANCHORAGE

                         KEITH C. JOHNSON,                   )
                                                             )                                 liOt'Y
                                               Plaintiff,    )                            Original Received
                                                             )
                                v.                           )                                APR 2 9 2014
                                                             )                            Clerk of the Trial courts
                         RLI INSURANCE COMPANY, )
                                                   )
                                        Def(mdant. )                CaseNo. 3AN-14-     ~52..{p      CI
                                                   )

                                     COMPLAINT lFOR DECLARATORY RELIEF AND DAMAGES

                                Plaintiff Keith C. Johnson, by and through counsel of record, Bliss Wilkens

                         Clayton & Diemer, hereby states and alleges as follows :

                                                   ll. PARTIES AND JURISDICTION

                                1.      Plaintiff Keith C . Johnson is a resident of Hinckley, Minnesota.

                                2.      Defendant JRLI Insurance Company (hereafter "RLI") is incorporated and

                        has its principal place of business in the State of Illinois. RLI is authorized to conduct

                         business in the State of Alaska.
  BLISS
WILKENS                                             ll. JURISDICTION AND VENUE
CLAYTON
&DIEMER                         3.     This Court has subject matter jurisdiction over this case pursuant to
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  SUITE200
~CHORAGE,      Al<      AS 22.10.020, because the amount in controversy exceeds $100,000.00.
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                               4.      Venue is proper in the Third Judicial District in Anchorage pursuant to
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ORO VALLEY, AZ          Alaska Rule of Civil Proc.edure 3.
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                                                     m.   GENERAL ALLEGATIONS

                              5.     On July 18, 2011, a single vehicle accident occurred when a 1999

                       Chevrolet Suburban departed the Sterling Highway near Soldotna in the Third Judicial

                        District, State of Alaska. The vehicle had four occupants. The negligence of the driver,

                       Robert Stenehjem, Sr., was the cause of the accident and resulting injuries. Robert

                       Stenehjem, Sr., died in the accident.    Plaintiff was a passenger in the vehicle and

                       sustained serious injuries.

                              6.     Allstate Property & Casualty Insurance Company (hereafter "Allstate")

                       issued automobile insurance policy number 92008874806/06 to John Stenehjem

                       personally, which was in effect on the date of the accident, for the 1999 Chevrolet

                       Suburban (VIN # 1GNFK16R4XJ536249). The policy included liability coverage, with

                       limits of $250,000.00 per person for bodily injury and $500,000.00 per occurrence. The

                       policy also included uninsured/underinsured motorist coverage ("UM") with limits of

                       $250,000.00 per person and $500,000.00 per accident.

                              7.     Defendant RLI issued a Personal Umbrella Liability Policy to John

                       Stenehjem in the State of Alaska. A true and accurate copy of the RLI policy in effect
   BUSS
 WILKENS               on the date of the accident, Policy No. PUP0360188, is attached as Exhibit A. The
 CLAYTON
 &DIEMER               facial limits of liability insurance coverage on this policy is $2,000,000.00 each
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ANCHORAGE, AK          occurrence.
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                             8.     National Farmers Union Property & Casualty Company (hereafter

                      "Farmers") issued insurance policy number IPA0272826-1110301, providing liability

                      coverage to Robert Stenehjem, Sr., with a facial limit of$100,000.00.

                             9.     In February 2012, Allstate offered to pay Plaintiff the full per person limit

                      of the bodily injury liability coverage under Policy No. 92008874806/06, issued to Jolm

                      Stenehjem personally. Farmers, at or around this same time period, offered to pay

                      Plaintiff the limits of their liability policy for Robert Stenehjem, Sr.

                             10.    Allstate offered to pay Plaintiff the liability limits based on the

                      representation from John Stenehjem, that Robert Stenehjem, Sr., was a permissive user

                      and was authorized to operate the 1999 Chevrolet Suburban.

                             11.    On June 18, 20 12~ Plaintiff Keith Johnson and his spouse, Jessica

                      Johnson, filed a complaint against Kathleen Stenehjem, in her capacity as the personal

                      representative for the Estate of Robert Stenehj em, Sr., in the District Court for the

                      County of Burleigh, State of North Dakota, Cause No. 08-2013-CV-00249 (hereafter

                      "North Dakota civil suit"). The complaint alleged Robert Stenehjem, Sr., negligently

                      drove the vehicle off the road causing serious injuries and related damages.
   BLISS
 WILKENS                     12.    On September 19, 2012, Defendant RLI, through its employees and/or
 CLAYTON
 &DIEMER              agents, denied coverage for the accident and denied any duty to defend or indemnify
  500LSTREET
   SU1TE200
ANCHORAGE, AK         Kathleen Stenehjem, in her capacity as the personal representative for the Estate of
     99501
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                             13.    In February 2013, parties to the North Dakota civil suit reached a

                      settlement agreement.

                             14.    On April 2, 2013, the Honorable District Court Judge Sonna Anderson

                       approved the settlement in the North Dakota civil suit. The court entered judgment in

                      favor of Plaintiffs and against Defendant Estate of Robert Stenehjem, Sr., in the amount

                      of $2,293,237.87, inclusive of costs, disbursements and attorney fees.           A true and

                      accurate copy of the court's judgmen~ fmdings of fact, conclusions of law, and executed

                      settlement agreement are attached as Exhibit B.

                             15.    In conjunction with the settlement m the North Dakota civil suit,

                      Defendant Estate of Robert Stenehjem, Sr., assigned to Plaintiff Keith C. Johnson any

                      and all claims the Estate of Robert Stenehjem, Sr., had arising out of the July 2011

                      accident against RLI arising under the RLI Personal Umbrella Liability Policy issued to

                      John Stenehjem. Settlement Agreement, ~ VI(g), Ex. B.

                             16.    RLI issued the RLI Personal Umbrella Liability Policy to John Stenehjem

                      when he resided in Anchorage, Alaska.

                             17.    ln May 2012, Allstate paid the amount of $277,500.00 to Plaintiff,
   BLISS
 WILKENS              representing the per person policy limit for bodily injury loss inclusive of Rule 82
 CLAYTON
&DIEMER               attorney fees and interest. At the same time, Farmers also paid to Plaintiff its per person
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ANCHORAGE, AI<        liability policy limit for Robert Stenehjem, Sr., in the amount of$110,000.00.
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 f 907.276.2955              18.    A partial satisfaction of judgment was filed in the North Dakota civil suit
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 ORO VALLEY, AZ       in the amount of $387,500.00, representing the amounts paid to Plaintiff. Except for
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                        these payments., the judgment entered against Defendant Estate of Robert Stenehjem,

                        Sr., remains unsatisfied.

                               19.    Robert Stenehjem, Sr., was an authorized and permissive operator of the

                        1999 Chevrolet Suburban and an insured person under Defendant RLI's Personal

                       Umbrella Liability Policy No. PUP0360 188.

                               20.    The claims brought in this matter by Plaintiff are as the assignee of the

                       Estate of Robert Stenehjem, Sr., for breach of contract and insurance bad faith against

                       Defendant     RLI     ansmg    under   RLI's    Personal   Umbrella     Liability     Policy

                       No. PUP0360188, the April 2, 2013 settlement in the North Dakota civil suit, and the

                       assignment of claims within that settlement.

                                                               COUNT I

                                                    DECLARATORY JUDGMENT

                              21.     Plaintiff incorporates by reference the allegations in paragraphs 1 through

                       20 ofthis Complaint.

                              22.     An actual controversy exists between Plaintiff and Defendant regarding

                       the rights and obligations arising under the Personal Umbrella Liability Policy issued by
   BUSS
 WILKENS               Defendant RLI to John Stenehjem.
 CLAYTON
 &DIEMER                      23.     Plaintiff is entitled to a declaration that, under the laws of the State of
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ANCHORAGE, AK          Alaska, Kathleen Stenehjem, in her capacity as the personal representative for the Estate
     99501
 T 907.276.2999
 F 907.276.2955        of Robert Stenehjem, Sr., was entitled to a defense against the claims asserted in the
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ORO VALLEY, AZ         North Dakota civil suit and indemnity from the Judgment which is attached as Exhibit B
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                       under Personal Umbrella Liability Policy No. PUP0360 188, issued by Defendant RLI to

                       John Stenehjem.

                                                              COUNTll

                                                     BREACH OF CONTRACT

                                24.   Plaintiff incorporates by reference the allegations in paragraphs 1 through

                       23 of this Complaint.

                                25.   A contract for insurance existed between John Stenehjem and Defendant

                       RLI that covered Robert Stenehjem, Sr., as an insured person.

                                26.   Personal Umbrella Liability Policy No. PUP0360 188, issued by

                       Defendant RLI to John Stenehjem, was a valid insurance contract for the purpose of

                       insuring, protecting and indemnifying Robert Stenehjem, Sr.• in the event of a claim

                       arising from his permissive use and operation of the 1999 Chevrolet Suburban.

                                27.   Defendant RLI, without justification, breached its obligations under the

                       contract for insurance, by acts and omissions, including denying coverage for the

                       July 18, 2011 accident and refusing to defend and indemnify Kathleen Stenehjem, in her

                       capacity as the personal representative for the Estate of Robert Stenehjem, Sr., from the
   BLISS
 WILKENS               North Dakota civil suit.
 CLAYTON
 &DIEMER                        28.   As a result of Defendant RLI's unjustified breach, Kathleen Stenehjem
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    SUITE200
ANCHORAGE, AK          and the Estate of Robert Stenehjem, Sr., suffered damages in an amount to be proven at
      99501
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  p 907.276.2955       trial.
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                              29.   Defendant RLI is responsible for all contractual damages suffered by

                       Kathleen Stenehjem and the Estate of Robert Stenehjem, Sr., as a result of its breach of

                       contract.

                                                            COUNT ill

                                                TORT OF BAD FAITH BREACH

                              30.   Plaintiff incorporates by reference the allegations in paragraphs 1 through

                       29 of this Complaint.

                              31.   Defendant RLI breached the implied covenant of good faith and fair

                       dealing by denying any duty to defend and indemnify Kathleen Stenehjem, in her

                       capacity as the personal representative for the Estate of Robert Stenehjem, Sr., in the

                       North Dakota civil suit arising from the July 18, 2011 accident under the Personal

                       Umbrella Liability Policy issued by Defendant RLI to John Stenehjem.

                              32.   As a direct and proximate result of Defendant RLI's bad faith breach of

                       the covenant of good faith and fair dealing, Kathleen Stenehjem and the Estate of

                       Robert Stenehjem, Sr., suffered tort damages, including, but not limited to, an adverse

                       judgment of$2,293,237.87 in the North Dakota civil suit.
  BLISS
 WILKENS                      33.   RLrs actions were motivated by financial gain and were outrageous or
 CLAYfON
 &DIEMER               done with reckless indifference to the interests of Kathleen Stenehjem, in her capacity
  SOOt STREET
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ANCHORAGE, AK          as the personal representative for the Estate of Robert Stenehjem, Sr., justifying an
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                                                              PRAYER FOR RELIEF

                                WHEREFORE, Plaintiff prays that the Court grant him the following relief:

                                1.      A declaration that Robert Stenehjem, Sr., was entitled to coverage as an

                        insured person under the Personal Umbrella Liability Policy issued by Defendant RLI to

                        John Stenehjem;

                               2.       An award of damages in excess of $100,000.00 against Defendant RLI,

                        caused by RLI's breach of contract and breach of the duty of good faith and fair dealing,

                        the precise amount to be proven at trial;

                               3.       An award of damages in the amount of $2,293,237.87 for the judgment

                        entered against the Estate of Robert Stenehjem, Sr., plus post-judgment interest, less

                        $387,500.00 paid in partial satisfaction of the judgment.

                               4.       An award of punitive damages against Defendant RLI;

                               5.       Attorney's fees and costs incurred in the prosecution of this matter ~ and

                               6.       Such other relief as this Court deems just and equitable.

                               DATED at Anchorage, Alaska, this 29th day of April, 2014.

                                                                          BLISS, WILKENS CLAYTON & DIEMER
   BLISS                                                                  Lawyers for Plaintiff
 WILKENS
 CLAYTON
 &DIEMER                                                                  By:
  SOOLSIREET                                                                        Alfred Clayto Jr.
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                                    C.E,RT·J FICATlON

    1. Donald I. Driscoll. dO. h~by>~~tbtf am the Vice President • Claini.D~eot of RLl

    ln!urancc Com~y,,a ~tatioh~ and existing.under the laws oitht. S1at.c ~;~f Ullnois, and

    that the attached is.a tNt and correcf copy of Policy No. PUP0360188 (12110J20J;0-l:Ul0/10ll).issued

    to Folic)' Holder John Stenehjem.




                                                  I
                                        Donald 1. Dr:isco1l. Vice ~dcmt-RLI'Claim Department
                                                    --- -- -·-----~·-- · -·---- - - - -- "                  -----




    Dated at Pt9ria, lllinois this 26m day of December, 2012.




                                                                                                AIC 884


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              listed   in   the 'Oeclaradons '(iilcluding 'l'CilewalJ, tem·                omnent, or.malicious prosecution;
              ~ ~Jac.em=ts          for o0.11-owned ,AatomobU... or
              e.odQ~tal wbic'b pru:vjdes. .~ liability                               3. Wrongful 'eviction, wrortgful ezltry or invasioo of
              cov.cz:age. A Blltt't'~Ucy clptu,ofin¢1~ a. comDI.cr-                        pt:ivacy; Of'
              cial or business ~· Ua&itlt)t· p_oii~ or ,otJier
              DOnr<pmwalsm.uUusliabillfy·policy;                                     4. Assault or battery, if committed to protect persons
                                                                                        orp~erty.                                   ·
        c.    BtlciJJ1 mjary ~ bQClilY, fl.annt sidalesa or ws-
              eaa.e (including requited care, loss of services, BDd              J. Private puaeaaer mQ~r vehicle includes but is not
              deadl) to others.                                                     limited to automobiles,. 'V.IDS;: motorcycles or pickup
                                                                                    U\Jc;lql..wi~ !1: grb,aS' ~Qlo. weigllt ratiJrg \!Ddet 9,(!00
         D. Blllbleu means a trade, bccupatioJt or )ltof~i~                          ~           rrtvate ~-.~.- )atcdor v.eJaide ~s nQt
            including farmillg and ranching. BudiUtli• alao.ineJDS                   it!cl.U;i.ie ave.hiclb 'tha,t· is sUbjeCt to flat<; or fedtnl
            ~.sidential property rented or held for re.n1al to othCl"'J.             .l'Cgtilatian as a ~motorveli:icle.
         B.   BUIID~t~      Property mCIDI property on which a Bill"*
              Jl.Mf iJ ~ inclu~ f8mls and ~~.
              w\Gtbei: dt not tuc.h property is occupiflll Pr iii.~.
         PUP. l~ll (04110)                                                                                                            Page 1 of8


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                                                                                                         (




       K.    ~ro.pM.i)'D~m~ ~phy$~ ·~;f.(l                                 1. by PW!J~ fit ~tian legally RSpODiible for
             tangiblo plOpel'tJ .-: well as lOU tit U&o. ;Of the              yoqrcn: _a~iqlve'• @imaiB is covered if:
             property.
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          from similar condw:t.. haitln or· lb~
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             awarded to the ixijunld party in addition to                         neas of such person or organization; and
             compensa.toJy damages.
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       M, ~-.Jl-~ ~a ,wcnorized vehicle for                                          ~rreneea                  ilrl<Jlving your or a Relative's
          uae. tm ~ whlol1 dOGS 11« i:l:qUUe motor vehicle                           ~
          rcptratiols ot Qper&tor licea&mg. and which is DOt
             tn,tended t<?t· use on public highways. Recreatloul            3. 4 ~ $)Uny other pmon, 1n addition lo ·tli.osc
             Vdili:lt inCludes, but is not limit.cd to:                        desCribc'd above. who il covered aa an ·insured for
                                                                               liability under your Balk PoKey is covered for
             1. Snowmobiles, ~ ·'V.Ilbi.Ol~.            12115tar-b~             aucb Oa:urreu:~.
                golf c:aits,~ocud ~;;or
                                                                         B. Fm ~~es involving tho user of Aatomobltea,
             '2.   Mo~ ~            gatdea, ranch, and maintenance          ReereatfQxl.J Vehida or Watercraft
                   eqlli'~ mqdifi~ or UJlDlodified, ~able .Qf
                                                                            1. -. You are coverod fot any A,..IQO.blle, ~­
                   apee"a ~does not exceed twenty-five (lS) mph.                  reatioul V~ or W~ YQU Own,
                   unde.r ~y ciro.umsflln\lel.                                    borrow, rent. or use.
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    N: Relative ~ ~~ (t].ated to you by 'blaod,                                 ~~     Anyone else ~ UIOI au Aafomoblle, R.ec-
----·--~.marriap,or.:..ad.opdi:Jo~-lim~ yo\IJ .bowebold-on--                         .. reatlonai-Vefaldt·•or-Waf.tin\taft'--)"eu own,
             a ful1time    easm     and. :anyone else in your   ~   a.               bonow, umt~ ·Qr . . . 8$ :& ~poraty substitute
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             will "" ~&.rt.d "livm& in your ho~ld ~)1 ~
             full~ basfa" if you or a 8t.lt.t&t ere. -. lcpl                         ~~). tb.~ U8e it  with your ox:pr:ess or implied
             custodian of the child. A R.el&tlV.e inGludes a student                       permfssion; and,
             who is enrolled in ooUcge end tiviilg temporarily away
             from homo.                                                              (~)   the usc is for the purpose you~.

       0 . Self Jnaared R.etentloli.mcani the amount shown in                   Tli'e coverage extended by paragraph 1 aballliot
           the DeclaratioDS: tilat any.one. coveted by this policy              tiX$end to:
           must paf.·fPr bJury befOre-we pay any amouDt .under                       (l) tho owneT of a 'borrowed or rented
           ~pqlWY. nu8 amount shall~ appli~ ·ifthc BUfC'                                 A.vinio\~ :Recratioual Vehicle or
             :tolldti do not provide ~v~~~ ~au,                                          W.~cnfl or his ·agents or employ~;
             but coverage is afforded undar ~ pob"cy.                                      :nor,                                              ·
        P.   S~t ~- ._ c.Ml Proceetlin8 &Ueging damages 1>~                          (2) organizations involV-ed 1n                 Autom~Ue,
             awsc of{ltJjp'y t~ wblch this insW'anco "PPUel!.                            RecreatJ.oaal ~ehkk .or                     Wate~
                                                                                           sale!~            -tttYi.o«s,   jara&~   ell'    ~
        Q. Watercraft mcms a boat or craft whiCh is de$igDCd                               ~. 'l\1»' ~~~or e.x;nployeq.
             for use o.q:w~.
                                                                            2. "- Your         R$~ea                       ~   co~ for            any
        PART ll- VfflO.lS CO~- INSUREDS                                                AuiDmobiJe, · B.ec:reatloua( Vehicle 4r
                                                                                     ,Watercnft they own, mit; or 'USC' :as ll
        A. For OctaJTeDeei other than those involving. the                            .temporary substitute or ia. ~ for tbrit
                                                                                       ~gular use. Your Itetativea' .re c:ov~ fbr
             use of AatomobDe. 1lec:reatlooal Vehlc:let or
                                                                                       any AutomobUe, ;ReereaUonal V•hicle or
             W•t.uaft::                                                                Waten:raft they borrow; if
              1. You and yout Rela:tlvea are covered.


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       '(1' ·t&y ~U-with
              pemuSSJon; and
                            the ownct's express or implied                        2. We will_pay the'prcm.iUm foil appeal bonds 88 well
                                                                                     u aU rus_cmable expenses (including loss of
                                                                                     eaminp·up to $250.00 per day), in addition to the
        (2)· the use ie for the purpose iotended by the                              Limit of Coverage. The premium and expe~~sca
              owna.                                                                  wi\lbo pai4only ifiiu:umd atouuequeat.
   b. Anyone who uses an AatomobU~ RecreatiOnal                                   3. Our duty to defend, and any. obligation we have to
      VeJale& Ot Watercraft owned by a Relative ia
         ~if:
                                                                                      pay other defense costs or expenses lW.<fer this
                                                                                     subsection B., ends when the amount we pay for
        (~j   they use it with the          ~eli ~ ·OJ"                              .lmy~ ~I.~llry ~·oli{;Limit ofCo\'erage.
              il;npli~ ~(fQj ~d
                                                                               C. J. 1f any of.the Bufc PoDd.el ~to be c:a.tritd
        <a> t&: ~         is   ra.r the purpose m.teniied .., the                     ~W(
              ltdttlv-.
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PART m~ WHA'r WE WlLJ.,·DO                                                               Baste PoJfdes had been cmied; or
A. 1. We will pe.y an amount·for which anyone covered                                b . ~~ we will pay .oniy aa though the
      by tbia policy becomes lc~ liable fur IDjuy                                         :sa.rc
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      da.e to m Oc:curence Vt('hich takes p~~ ~;
      the Policy Period.and in the Polley Tern~. l'hil
        iDs~ applies:                                                             l , lfthc Limits of Coverage canied under the Ba1lc
                                                                                      Polld.ea are:
        a. As excess ina~ ovu and above 1be
              ~of:                                                                    L   less than the minimum required. limits listed
                                                                                          in the DcclarationJ, we will pay only aa
             (1) the Minimum Limit of Co~ as 1tited                                       though Balle P.oll~a. had been .cmied with
                 in the Declarations which I• teqWX'cdlti bt                              the Minim~ Pmit ·of Cor.'cra~ ~in
     - -··- - provided-   ____..,the
                       __ by         Bu~
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                                      ,_. ,, . ····- ···----·· ...... ·- ··-              tho Q~Wonsi..~.- -
              (2) the ACtUal LU1,1it oC:-!:Ov.erage provided bJ                       ~ Muted       l1f the paymtmt of losses \lll<R:r the
                   ttl~ BQ4 NJt.d• if~ ac:tual limit lS                                   Blililc PolkJes, we will pay Olil}' .aa though tbe
                   pater 't lim the Minimum Limit of eov-
                  ·erage as stated in the Dec!Jr1lticmS.~                                 Baalc Polldu had not ba4 ~ limits
                                                                                          reduced by the paymcot of -an~ l.Qss.es uncler-
        b. If such ~ury· is not. -co~ ~ ~                                                 the Baatc ~oHd.el.-
           applicable B_.tc ItoU~es- t:0.11 ~eraae JS
           afforded under this ~Ji.cy;_ in the, ~.t such                          3. If atl)i Qf tb.~ Jl!tt~fqll,d- ~ tl? ~ ~ed
           amoUD1 exceeds the' Sdf Innricl.Rd'entfoa                                  do· not covet y6\II' ~jt,_ ~ ~ by ·the
           amount statedin ~p~~ti-.                                                   pro'VOOQD.s ~f. ~ ~~~-we will paj- fox:
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    2. Tho moat wo will plif .'(<lt ~a:i')' ·~ of an                                  Pcditle. Oid e.Q~· 'Y®t :lttlaiW~ for at lea&t the
       Oa;~ ·CQv~~ ~ihis policy is stated !8                                          Miri.ttnum Limits .Of eovwase listed in 1h.e
       tll~ ~.accident ·Limit of COverage as shown-m                                  Deciarations.
       the Declarations. Thcro.is no limit ~bniSDlbe:r'
       of Oceurrencu· chlring; ·tlie: P.oli~:t P'~od fur
       wbj.c!l. a clajm ~ ~ !made. Tllis insulmce
       awliea .sepanietl' 10 ·~'b: J!mOI1 covered by this
                                                                                  4. Ihny of the      Jt•  Jr.o»~u QU~)'01Jf Jlia,latJve.a
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       Jl01JC1, but this doc( ~ 1ll.i:t6ase b\111' Limit of                          ~ ~:~jbe. :Deelata~ w.~ wiU :pay
       t:;verage ·per O.uurr.eace;.                                                   for !\len    ltelaB~~ :mey a. ·tbougll ~ required
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B. If YOll or any person are covmd (or
   polic.y., blit-such lajury is not.coverc:d
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   Polldif.:'
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                                                                                     88 requin:d by tht P~M .Qf·tbe: Dec~OilS'.
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                                                                                     roquit~ &a1C )JoHd.el did co"" such insureds
                                                                                     for at· lc:ut the Minimum Limits pf Coverage
                                                                                      listed in the Declamtiona,

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   6. If any of the s.k Polldcl cave:r insun:ds·                 S. Arzy obligation you or mygne else baa to pro.vi!)e
      referenced io Part II. BJ.~, in.. amount less dllm               ~· tQ mnplo_yees ~ II; w.Qtic:r's compeoSJtiCU~.t
      tho Minimum Limits of Cov4J118e.- lifted in the                  ~1 disease. UDCJ:fiP~t COJDPeGB&ti0%1,
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      -ai though tll6 .~ -~~ l'«iUc&t ~­
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   1. it ·any .-.nee. company providing aay            ~         0'. l_vJary !Ui'J)na from activities u an of!eer-nrmember
        P.Glkt~ 'b~: unablo to p&y because it ~· in­                   o( ~- ~~ of dircctora of any ~011. or
        ~i~ ·:wcpvill only pa:y, subject to thia policy's              oorporati,o,o un,less that oJPniZa(ion or corpoAltion is
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        fot lnJary exceedS.'th~. B~lc PoUdea' Minimum                  either (1) t B • ~olky fQr the full Min.im.wn Limitl
        Limit of CQverage·aa Ustecl.in.the:.Di::Clarations.            of Cov~ge ~o.wp: ,tn the Declarations or (2) valid
                                                                       and C!Ollcctible primal:y iDswu£o equal to the
    8. In regaJd to C.l. throusb C.7. abote, W'O. .will n'Ql           personal U,U,ility limit listed in the Declarad0111...
       be xea,poosible, n.or will we ~r for. lmY ·lief~
       jnvestigatioD, negotiation, Jcpl fees_. 'COurt CQii,t$1   ti.   ~e~orSul.t~ja~
       imereat, or any 'Similar fees or ~ls'- We· ~~:
       ,llowcver, have tbc righlto CDtcr any auah malt« it             L     lhmisht by. .-QI' mt bdl.a1f .C)f tJfY~ who
        wowiab.                                                              qualifiea· for· ~liB~ ~ P~ • ~0 IS
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    9. If the Ba1lc P,.,UCI.el do-not provide.coverage due                   penon who ~es for coverage \Pli3oJ }tart II
       to &iluro to· CQZD.Ply with condition& in tboac                       (WHO IS COVERED -INSUREDS); or
       Bple Pol~ thiS ,policy also will 'DOt provide
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P.ART IV- '\YHA'TlS Jit()'f·~~- BXCLUSIONS                                 pcs:son who quillfics fot covcrig6 ~,mclet Part II
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   ~ way CODJleCtl:ld with Bu11Dea Pursuit3 or                         Named Insured or Relative.
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   and coD.cctible Ba,tlc Policy fur the full Mmimum                   inttati~• .purp.osefial-or ~ act, regardless of
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       N. IDJIU'Y uising out of any physiCal or -se:mil1ibuse,               4. &l)y 1ial>ilitY ~' ·Uiro'il8b @ iinMittm tic
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                                                                                                                                    Exhibit A
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z·.     Liability for Puultfve. or Exemplary Damages,                       PoUcataldi means ~Y -~lld, ll®id, ~ ~t
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     1. Notify ua and your agent as soon u poaaibie;             B. Our Rtgiu to RfC()ver Pay.,em. If we make: ~
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2. We may cmcel bY.~ to you, at tho last mailing             M. Nolll'f!1lewo/, If wo ~le;ct.not 't o renew this policy, we
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      PolicyNumber. PUP0360188


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      In accordaDCo with the lam aDd regulations -elf the state ofArlzQn&, the poliRY is amended, as of the effective date of the
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                    b. ifthe ri4llas c;b¥.g¢ ~Jtantially since the policy was issued, except to the extent that we shoUld
                       reasonably 'have fo~. the change or cOntemplated the risk in writing the policy; or

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      Case 3:14-cv-00095-SLG Document 1-1 Filed 05/20/14 Page 20 of 32
      "M. Nonrenewal.

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        TN DlSTRICT COURT, COUNTY OF BURLEIGH, STATE OF NORTH DAKOTA

  Keith Johnson and Jessica .h.1hnson,                  )       Civil no.: 08-2013-CV-00249
                                                        )
                           Plai nl i ffs ,              )
                                                        )              FINDINGS OF FACT,
  V,                                                    )              CONCLUSiONS OF LAW,
                                                        )              AND ORDER FOR
  Kathleen Stenehjem, personal representative           )              JUDGMENT
  of the Estate of Robert Stenehjem ,                   )
                                                        )
                           Defendant.                   )


         The above entitled matter came on for hearing before the Honorable Sonna Anderson, on

  April2, 2013, at the Morton County Courthouse, Mandan, North Dakota. Plaintiffs appeared

  personally and through their attorney, Kim E. Brust, Conroy Fesle Ltd., Fargo, North Dakota.

  Defendant, Estate of Robert Stenehjem, appeared through its attorney, Michael Morley, Morley

  Law Firm, Grand Forks. North Dakota. There were no other appearances.

          Based upon the Settlement Agreement under Miller v. Shugart ("Settlement Agreement")

  and after hearing all of 1he evidence and being fully advised in the premises, the court makes the

  following:

                                             FINDING OFFACT

          1. Plaintiff, Keith Johnson ("Keith"), claims substantial damages against Defendant for

  personal injury resulting from a motor vehicle accident on July 18, 2011, and alleges that that

  collision and his injuries were the result of the negligence of Robert Stenehjem ("Stenehjem").

          2 . Plaintiff, Jessica Johnson ("Jessica"), alleges that she sustained a loss of consortium

  as a result of Keith's injuries.

          3. Plaintiffs commenced the above entitled action against the Estate of Robert

   Stenehjem ("Estate").                                                          RECE.NE.D &. FILED

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                                                              AIC 371               cw.. ot crt. Sufleigt\ Co·

                                                                            EXHIBIT B Page 1 of 10



                                                                                                       Exhibit A
                                                                                                    Page 23 of 32
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          4. The Estate admits that facts have developed through discovery and investigation

  which indicate that it has pote11tialliability exposun: to Plaintiffs. To eliminate that risk aml

  avoid additional expense of trial, the Estate wishes to resolve this action and limit its loss

  exposure, by allowmgjudgmentto be entered against it.

          5. At the time of the collision, Allstate Property & Casualty Insurance Company

  provided liabil ity coverage for and upon the motor vehicle involved in the collision. driven by

  Stenehjem and National Fam1ers Union provided excess coverage to Stenehjem and his Estate.

  Plaintiffs and Defendant maintain that a personal umbrella liability policy issued by RLI

  Insurance Company ("RLl") to John Stenehjem provides additional excess coverage.

          6. RLI Insurance has denied any and all obligations to indemnify the Estate under its

  personal umbrella policy and has denied that any coverage is owed whatsoever on account of the

  damages claimed by Plaintiffs.

          7. RLI has been advised of negotiations between Plaintiffs and the Estate.

          8. RLI has failed to meaningfully participate in settlement discussions between Plaintiffs

  and Defendant_

          9. RLI continues to deny coverage to the Estate, thus exposing the Estate to personal

  liability if a judgment is ultimately rendered against it.

          t 0. Despite requests, RLl has refused to participate to resolve, settle, or pay Plaintiffs'

  claim against the Estate.

          II . Plaintiffs and Defendant believe the personal umbrella policy issued by RLI

  Insurance provides excess coverage for the damages sustained by Plaintiffs.

          t 2. Plaintiffs and the Defendant for and in consideration of mutual covenants and other

  good and valuable consideration have entered into the Settlement Agreement, a copy of which is


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                                                                                           AIC 372

                                                                              EXHIBIT 8 Page 2 of 10



                                                                                                         Exhibit A
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  attached and incorporated by referente as Exhibit "A : ·

          13. Stenehjem was negligent and his negligence was a direct c:JUse ofthe motor vehtcle

  collision of July 18, 2012 and the inJuries sustained by Keith and the loss of consortium

  sustained by Jessica.

          14. The terms of the Settlement Agreement, including the amount of $2,293 ,237 .87 , is

  fair and reasonable.

          I 5. A jury could render a JUdgment in excess of the settlement amount of $2,293,237.87 .

                                     CONCLUSIONS OF LAW

         Based upon the foregoing, the Court makes the following :

          I . Plaintiffs are entitled to judgment against Defendant in the amount of $2,293 ,23 7.87 .

          2. The enforceability of the judgmenl is subject to and restricted by lhe terms of the

  Settlement Agreement.

                                     ORDERFORJUDGMENT

          The Clerk of this Court shall enter judgment on behalf of Plaintiffs as described above.

          LET JUDGMENT BE ENTERED ACCORDINGLY .

          Dated this   L    day of Apri l, 2013 . .




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                                                                                          AtC 373

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       IN l) t ~:T t?IC .T CO U I:!T . C r IIX• r ,· (J F (WI"".!I. EIGH. srATE. O F NC) f.:" IH D AI<OT A



                                                                 C 1v 1l no ----- ·-

                                     Pl:"nntllls

   v                                                             SETTLEMENT AGREEMENT

   Kathle<>:n Stc:nehj~m. Pcr~onal
   RP.presenlatJve of llw
   Estate of Robert StcnehJ•::rn,

                             Defendant



             IT IS HERE BY AC RI::ED b' ;.mel hc.>twel"n platntiffs t<eith Johnson and
   .J esstca , Johnson and           defendant Kathleen                 St~nehjem,       in her capac1ty as
   personal representatl'it• tJf tht Est;H•: or l<oiJerl Stenehjem, and not per!;onally
   2.!.: md•v•dually , ("Steneh,c:m··, ,u. inllf.v. s


             On Ju ly 18. 20 ll. at <.spprox11natdy I I : 56 am . . Ke1th was a passenger m
   a 1999 Chevrolet Suburl-.an dnvr·n br Robert StenehJem trave ling north on
    Sterlmg H1ghway near Soldntn::1,                P.l;l~ka       At the above         llllH!   and place. nea1
    milepost 104.2 of Steding H1ghwuy, the vehicle was driven off the road
    Plaint1ffs contend thal Steneh.1crn negligently drove the vehicle off the road
                                                            II

              Pta1nt1ffs    l<eilh   ..Johnson     ("'<eith"l          and   ,Jessica     Johnson      ("Jess1ca")
       brought a claim for per sonal injurit!s allegedly caused by th e negligence and
       fault of Robert ScenehJt!m Specilic:1lly Plaint1ffs contended Keith suffered the
       followmg 1n1urics. numerous.           ~everc~. permanent             and disabling inJu r ies lo h1s
       pe rson which have UJLtsc:d h nn          rnLH   h   pG~ t n,   suffering, mental angutsh nnd loss
       of h1s ab1llty to enJoy life , ;di <•f wlilc.:h he s hall continue to cxpt:ncnce m the
       future; Jo~t '"'<'lges lugcthcr wit lt      ;t   pernw nent and se:rious 1mpa1rment of h1s
       earning capacity 111 the fullJJ'I';. nnd expenses fo r lhe treatment of hiS injuries.



                                                                                                           EXHIBIT

                                                                             AIC 374                        I
                                                                                          EXHIBIT B Page 4 of 10



                                                                                                                   Exhibit A
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   [or   doctor   11:11~ .. ::,r,.· ct;;dt•. r:~ . tlt<"t   ;:q:•y   lrC''lllllt~nt,    :<·rr'J)'5 .   .:111d   ;Ill roth•·:;· m~rltral
   expenses I to~Vtt'tg a 1e;:~snrt:o~ble va l ~w. 1n 'In amount nnt vet asc • : n.·ttn(~ d. 4tncl {he

   necess11y i'or whtch ~h::J! I ronllt'llte tn tltt: future                             l'lc\lnltff~. ~~ l st. , ftP'tlf'nd lh<itn~,

   a direct and p.-oxinHilC              H~Sllll    of lhr: 11Cgltgen('r. of              r~obert       Stetlt:hp.!111, l<etlh has
   found it tmp()s::;ible to pr.rforrn hts                       norm<.~! duttes           as a husban(l             .~nd    tu afford
   his wife, platnliff, . lr:<.SI' . ~'. the soctely ::ind companionshtp .:1fforcied her befon~
   his injune~         l<eith :tnd           .Je-;sn:c~        contend that such tnjurtl:'-; h;:we rleprtvecl
   Jessica of the consortturn, norme~l aid, soctety and c:ompamunsl11p p•·evtously
   afforded her by Keith and have caused her mental ::1nguish and loss of
   enjoyment of life, all          Of   Whtch Wtll C0t1tinue 111 the i'uturc.
                                                                      Ill

           IJcfendant Stenehjem has dented all liablliW as to plainll rfs
                                                                      IV
           Allstatr Property ::tnd Casualty Insurance Company provtde:=; ltabtltty
   coverage for and upon thr. motor vehicle involved m the col11Ston, dnven by
    Robert Stenehjem, with a facP. coverage ltrnit of $250,000 .                                                N~'lttonal    Farmers
    Union Propc.-ty & Casualty Co .rwovides c.xcess liabtl•ty cov(>ragc to Robert
    StenehJem «nd h1s estate, wtth n                                  f<'ln~   co..,·er<l.ge lirTilt of $100,000                     l<etlh
    Johnson       contends           thn.t      hi!>    inJuries from                  thi!i   tnctdcnt           <In'   covered          by
    Underinsured          motorist           coverage            from          M1dwest         Family           Mutual      Insurance
    Company, "vith a limit of $500,000, .1.\llsiCite Properly and C.:.tsui'lltv Insurance
    Company, with a limi t. of $250,000; and Arnerir.an Family Mulwtl lnsur<3nce
    Company, with a limit of $250,000.
           John StenehJcm hold:; a                          Person<~l       Umbrella Liability Poli('y through RLI
    Insurance Company. The policy provides coverage
            Fnr Occurrences invoh·tng Ill!' use of Aulornobtle.!:i, ReCrt':'tltun                                         Vc'h~~.:l~:-,   <1r
            Watt:rcrafl:

                     a . You are covcreo for any Automobdt::, Rec·reat1onal                                           Ve•h~t.: k·,
                         or Watercraft you own, borruw, rent, or usc: .




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                                                                                                                                             Exhibit A
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                   1,   ·\ n yone t- I~;<': v,:hr;; u ::;t::,      A i 11 f.li"!lf•l:nl·~. I~.~(J~·;:;ltull : d
                                                                 .)II

                        Vthtcle or Wstercr;:Jfl Y')U                borr"". r••rtl. •>r 1.1~~<.· ; , ,, ,,
                                                                q\\' 11,
                        tempor<lry substitut.<: 1 ~. . <:· >\'~r•!d tf

                        ( 1\ They usc:: 11 wllh your         expr~S!":       or tmpltcd pr-rmt t;:;inn ,    .11111 ,


                        (2) The us<: tS for the p11rpose you Ill tended

        The face c:ove:rage ltmil:; of llabiltty 1nSllf<l!ICe covt:·t·nge on this RL.I poiH:y arc

   $2,000,000       Plointlffs and rldendant mCJ111la1n Lll:H tl1tS HLI poltcy pr~w1des

   llabilily cover8ge in rile subJeCt irKtdenr. lor Robel r $tcnl!h.tem and                              h;rj estate


   RLl Jnsurance Company has refused w provide coverage m lhe "bovc-entifled

   matter

                                                           v
        Plaintiffs Joh ns()n and defendant StenehJt:rn c:sgr et rh.:tt th·~ recJ~r.·n"blc: v<~lue
    of all plainllffs' claims is $'.2,'293,237 R7, br1)kcn do\vn as follows·
            l .    Past medical - $393 ,237 87
            2.     Past pain and suffering · $400,000.00
            3.     Past wage loss · $150,000.00
            4.     Future medical · $150,000 .00
            5.     Fllture dimini~hed earn1ng cap<lctty · $·1 ~~0,000 ()0
            6.     Future pain and suffering - $500.000 0()
            7      Los5    or
                           consortium · $250.000 00

                                                           VI

        Plaintiffs Johnson and defendant SrenehJem havt: kepl 111 tnJnd :)n d have
    been guided by t he dectsion of the Minnesot :-1 Supreme Court 111 Miller u.

    Shugart, 316 N .W .2d 729 {Minn . 1982) and of the North Dakota Supreme Court
    in Sellie u. N. Dakota Ins GLtar. Ass'n, 494 N .W .2d 151 (N.D . 1992), and the

    judgment stipulated heret n                is mLended               lo   have the same effect as the
    judgments cntt:red 111 :;411d cil"CISll''HlS, and for <:incl 1n ronstde ra tH'III o( mt1lual
    c..:ovenan ts and other good C:l ltd valuable consldf:ralJOil , platnlJfl:;                     .~nd   clclendant
    StenehJcm agree as follows .


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                   (




                                             Judgment ~~~<1in:;1 ;I ami 11·1 L• :or •.•I
            :') t e-rwhJem <;llpul::llc- c; 11; ;:
            pl;t111t 1ffs .Jc1hnson tn the art1ount ~>f :r.2,2'J3,'2~n 87 . tru:lt.t~.tw• rtl
            cost.s and d1shursement5 and attorn~_y:; fees Tl1c Jl.l d!~,l'll<:'l'il w•:aJioi
            only he t'·ntered as agatnsl the e!;tale of Hoben ~·.)tt'. nth]em,
            decea.sc<"l dl'ld flOl again~l Kathleen Stenehjt:·m l)<' l''><ln~dly or
            ind 1v td ua lly

        b   Plamt1ffs .Johnson heretn agree that neither them nnr thl': tr hr::tr::;,
            ass1gns. agents. representatives, atl.orn~ys, subrogees. sobrogors,
            lten holders or cla1mants, 1nc:luding but not limite::d tiJ the
            governmental ent1t1es of Med1care or Medicaid, rned1~:al pro)vickr
            lien hrdders, subrogating msurcrs, or anyon~ ~·be cl<lim.l ng Lhrough
            the .J ohn~on or on their bc.:half, will exec\.lte, levy, or St!~k
            satisfaction, payment or enforcemen t of the JUdgmenl or any liens
            from or against the personal. 1nd1vidual, btJsme:-.s, or other assets,
            property (real or personal 01 1ntangsblel, financial nssets, or any
            other prope1 ty, assets or hold1ngs of Dd<::ndant. l~athlten
            Stc::nehjern, e1lher JJ1dsv1dually or personal I). 111 he1 capcv~il)t ''s
            personal repl'cscntative of the ~slate of Robert Ste n {'hjem,
            deceased, or a~ against the estate of Raben StenehJc::m, d~t:ea'>r.d,
            i3nd whether bemg held individually or jomtly l;y [kfr-'nri ~!I J Ls, ,,,.
            <111)' OJ' them, With regard tO lhe JUdgment t!J11<':fC'd by i.ht" (t')llrl
            here1 n . Regarding any hens, pla11111ffs shall h•.,ld I1<:Hilll~~;:;
            defendants from any cla1ms or SUit$ thereon

        c   The parties hereto expressly agree thal the plaintifrs hc:1ve made:: no
            claim against l{athlee:n StenehJern, md1vldually or pr.rsrJ n ~lly, w 1L h
            respect to the moto1· vehicle acctcleiit and plaJ I'ol ifl!> . rbm<lf?es
            therefrom, cles~ribed in purLs I anrl II, abnve, anct tha t the
            judgment stipulated herein and th<1t will be entc 1eel 1n th 1s <Jl' lton
            1S not <:• judgment againsl J<athleen StcnehJem . pcl'>•>nully or
            i ndividually, but is only a .JUdgment as rt'spects tho~ E~n.:,te of
             Robert Stenehjem, deceased, and subJect to the pro•:t'>ll'l n~ of this
             agreement

        d    Su bject  to paragraph Vl(l) o r lhlS ;::~greemenl, ThiS JUdgment IS
             explicitly and expressly not satisfiable or enforceable tn whole or 10
             part, by allachment o f or upon a n y assets or property of l\ath l eei1
             Slenebjem, personally and tndJVidually , or the cstale or Robert
             Stenehjem , deceased, nor by ellforceme nL or lev)' upon r1JI)' as~.;cts
             lW property of 1\athlee.n StenchJem personally and tnd ,,·IIILwlly or
             lhe Estate of Roberl Sten~"hJem, de e ~;jSCd , no1 ::;hall 1t III'Corn.- a
             lien upon <:1ny propel'ly or assets or rll1)! kind uf t:ilher 1\alh lt>en
             St.enehjern, personally and •ndtvidually, M Lhc e51~,;~ t'Jl' Robert




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              ~;ten~hJ~In,   <it>r"<t"!'rl   /)•r,kP   11   Ryan . 5 H   N W '2d 78~, (Mu"tn
              I 994)

        t·    P!aint1f(s shall only txec:ute on 1he Jlldgmenr., 1f al all, against the
              tnsurer or lllSI.irr.rs rhat have msurance t:over~'lg<'! for the clatms of
              Plaintiffs ~riSIIlg •;>LII or the tn<.:ident herein. anrl thar have not
              prevtouslv patcl or agreed tu pay thetr coverage limrts to plaincrffs.
              ancl platnt1frs will hnld harmless and indemnify l<athk~n
              Ster.ehjem, IOdtV!dually , 8nd the Estate or Robert Stenehjem,
              deceased , from an:v subrogation or other claims against her or the
              Estate by dny such insurers who make payments lo plZ~tntiffs
              under thc:tr po l!ctes .

               Plaintiffs .Johm•on w1ll only seek to satisfy this judgmenr from any
              available and unpaid liability insurance coverage provided by
              Allstate Properly & Casualty Insurance Company and National
              Farmer's Union Property & Casual l y Company; the per~onal
              umbrella liabilny insLtrnnce policy of RLI Insurance CumpHny ; from
              the untlerinsured motorist r.overage tllSLirance of Midwest Family
              Mutual lnsun1nce Company. Allstate lnsur1:1nce Company and
              American Family Insurance CQrnpan)·; t"'nd any other insurance
              coverage l'or the claims of plaintiffs .1rising our of tht:· 1ncidcnt
              herein, and ,!!OI from <•ny other property or assets or any kind uf
              l<athleen StenehjE:m, individtH'Illy, or 1n her capac1ty <JS personal
              representative of the Eslate of Robert Stenehjem, deceEJsed , or fmm
              the Estate of Robert Stenehjem, deceased, or from his heirs Upon
              payment of th~tr liabiltty lllSUram:e covc::rage or other coverage by
              any of the sa1d 1 l1'SU r an~:e compan•c-s under any 01 the satd
              111sur;:~nce poltues rcfen·ed w tn IV above, the John sons, by the11·
              attorney, sha l l ex~::cute and cooperate m getltng fi lc::d , parllal
              satisfaction:-> or the: Judgrnenl entered heretn, to the extt:nl of suc:h
              paymc::nt by sard 1nsurance company or companie~

         g    Stenehjem hereby ass1gns LO Pla1nt1ffs .Johnson a11y anrl all c:la1ms
              Lhat Stenehjern may have ans1ng oul of the July 18, 2011 acc1dent
              against RLI Insurance Company, aristng from RLI policy number
              PUP0360188 1ssucd to John 8tenehjem

         11    Stenehjem and Stenehjcm's auurneys agree to c:oopc-rate as
              needed in thr: prost:cut1on ur uny claim against RLJ Insurance by
              Plaintiffs .Johnson, then~ sut:t esSI'H!> c> t ass1gns . 1nc-lud;r,g, bul not
              ltmited 1(.1 : ll r<>;t:C\lllng <~nt.lllehvenng any and all tn~trumcnts <111ci
              papers Pl31n1tffs Johnson , Lhew successors, or (ISsigns tkem
              necessary or approp1·1ate to settle, prosecute. lnst1tuk, 01·
              compromise e~n~ action or cl81m for recovery under Lhc: RLI

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                  lll~l1(3!)(:!" pnl11:y. ~).) prOVIding i'l l'!ln1f'llcle ~Opy nr . dl \\ ntten (!~
                  ek<::tronic :=tnt.! correspondence sPnt tr) ,,,. rect:IV(:d fr0m RL.I
                  regarding m:>Lirancc coverage for tlw .lltly J 8 , 20 I I ;:~(·cu:lent ..and
                  3) oss1s t ing as neecied a:. w,tnesscs tn an y evet1LuHI lit •galtn n
                  <.~gains! RLl Insurance Company, 1nclucling meeting tnl'ormally to
                  prepare or 1·esponcl to discove ry or depcJ:>Itions , with ~1n y S l l C: h cost
                  to be borne by Pla1nt1!h Johnson , their successors . nr ::JS:> 1gns , and
                  'll providing and mamtatnmg a current m~tiltng :·•cidress and
                  contact ph(Jne numher for the purposes satisfying th1s coopcra uon
                  clause .

           1.     It i::; undc~ rstood that a•~Y cla1111 S lor              unclenn:Hln~d              rnotor1St
                  coverage a r e expressly reserved

                                                           VII

           The parties hereto agree that t hey shall contemporaneously wtth r.he
   ex.ecL•lio11 of th1s Sett lement Agreement entet· 1nto a stipulat1on for the entry of
   judgm ent herein provided and reque:';t that such Judgm ent he entered by Lhe
   Cotl rt thereon .
           The parties further agree thal they will jointly apply w th e Court e:111d
    requesl Lhal the Cou r t file Lhis StipulatiOn and et1ter M1Y judgment thereon as
    a confidential and restricted document and filings. fur which th(' public is
    proh•b1te.d access ,      pur~uanl.   to North Dal<Ot;; Supreme Court At.litlii'IISi r etr.tve
    Ruk 4 I a n d the p!'ov1sions and subsecl tons thereof and                        Jt~~     otl·l\;r   1~1w   or
    regulation allovJJng sw:h rf.'stncrecl f'i ling .
                                                     V II I

            Ddenrlan l Slenehjem expressly ncknowledges that 1t has ol>l.ainecl the
    advice of its attorney and has thorough ly discussed Lhe term s and conditions o f
    this Settleme n t Agreement with         thr~l   i'lttorney and it     undersU~nds           and accepts
    the te r ms and conditions hereof fully and volunt<n• ly
                                                      IX

            The   l::~ws   o r the> Slate o l North Dakota sh::dl be u:,ed              to!    IItie>: prl':l I IllS

    Agreement <lnd Stipulation Sec:' Sl'!lile u N Daleo/(! /n.s Guar. .a.ss 'n . '-ll.l.!l N W 2d
    151.    lSo (N.D .       1992)   (ctt, ng Snort/and          u.   Lwson ,   364     N     w 2<'1      h7.    fJY

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   {N . D 1985) , :1rn         Hnrdl.t l flf(' f\.JttUtCII }/I ;;                (   r.• ~·. Clutrylttnrl in s Cc1, ~i0'l 1\1 W .l d
   687 , 689 n l (N 0 1981))
                                                                            X
          Plaintiffs and Dt-f<"nd;II)J ;.alln·r n th<ll they e;,u:h                                                lt~tvr~   1\t.~d    mdependenl
   advice of legal counst:l a;,                     ll)   .111 m;-;tters cliscus~ed and s<:t forth herein, and
   that based on such advtce.                                 th<·        pe~t l ies     agree that this Agreement                                       e~nd

   Stipulation      i~    a reason;;~ble and ptud~nl resolution ol the controversy and
   claims thal exist between Pla•n ttfb .,nd Defendant




          Subscnbed\and                   ~wun\ Ln belore
          me _lhis       _I_ _ of Februat;.                        201:1
                         SAREE T. REVELING
                               Notary Public
                         Slo      ol North DokOII;
              My Com       IS •     Explr Se I. >', l              '::)


           Subscnbed and sworn w bekn rt
           me Lhis _ll__, of Februar-:.•. ?01 :1
                    SAREE T. REVEU~~G --- -'-i
                                   NOIO!y Public                     f·
                           Stole ol No~lh Dt~;·o · .          .,   ..J
              *'"'m..~""l'P.~f"J'''!'t-P,.ue,.s,.,.--:ttf·rr!d' ·c.:;f+Tft:n L

           Dated .        ~(\! 4:,,<;;.                                                          \/.'Vl~
                                                                                      l<tm~-­
                                                                                      Attorneys for Plainttffs

           Dated          C)-~-             J...3
                                                                          Kalhleen Stenchjem as
                                                                          Personal Representative of t.hc
                                                                          Estate nf Robert Stenchjem
                                                                                          -<::>"' ,....... {   ~ <'\..) ("\t--   \:;) I'>- x..~-\ (:>.
           Subscnbed and sworn LO bdort-                                                                    - 'V
           me lh1s ~ of February 201~~                                                          C..\l ...,"-\'\ ..)''\)      r::, ..,r~P;c1~

                                                                                 · ··-~~-~~
                    CONNIE M MILLER                                       Nolary Pubhc
                        Notary Public
                    Stale of North Oakola                                 ('1.1~ Coanlllll'>sion E;;pires_
            My   Commission Expire:; July 11.2018


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